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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

  IN RE:                                       )
                                               )        Case No. 3:19-bk-30822
  TAGNETICS INC.,                              )
                                               )        Chapter 7 (Involuntary)
                       Alleged Debtor.         )
                                               )        JUDGE GUY R. HUMPHREY



        MOTION OF McCARTHY, LEBIT, CRYSTAL & LIFFMAN, CO. L.P.A.,
                 FOR LEAVE TO WITHDRAW AS COUNSEL

       Pursuant to Rule 1.16 of the Ohio Rules of Professional Conduct and LBR 2091-1(a)(2),

the law firm of McCarthy, Lebit, Crystal & Liffman, Co. L.P.A. and Robert R. Kracht, Esq;

(collectively “MLCL”) respectfully move this Court for leave to withdraw from further

representation of Tagnetics Inc., the Alleged Debtor (“Tagnetics”). In support of the Motion

MLCL represents:

       1.      There have arisen and continue to exist irreconcilable differences between MLCL

and Tagnetics that have prevented MLCL from being able to continue to represent Tagnetics in

this matter.   MLCL cannot go into particulars regarding the irreconcilable differences that

currently exist due to the attorney-client-privilege.

       2.      Tagnetics is currently represented by three law firms with Attorney Stephen Stern

and his firm, Kagan Stern Marinello & Beard, LLC, acting as lead counsel with the assistance of

Douglas Draper and Leslie Collins of the firm of Heller, Draper, Patrick, Horn & Manthey, L.L.C.

This Court previously granted Attorney Stern’s, Attorney Draper’s, and Attorney Collins’s

motions to appear pro hac vice.




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          3.    Permitting MLCL to withdraw at this time will not affect the matters addressed in

the Court’s current scheduling order or the trial scheduled for July 29, 2019.

          4.    MLCL has communicated its intent to file this Motion to Tagnetics through their

lead counsel and they have received a copy of this Motion via the Court’s ECF process and again

by direct email to the Tagnetics’ representative and co-counsel.

          5.    Accordingly, good cause exists under the Rules of Professional Conduct and LBR

2019-1(a)(2) for the granting of this Motion.

          WHEREFORE, McCarthy, Lebit, Crystal & Liffman, Co. L.P.A. and Robert R. Kracht,

Esq., for good cause shown, request that the within Motion be granted for the reasons set forth

herein.

Dated: June 20, 2019                                 Respectfully submitted,



                                                     /s/ Robert R. Kracht
                                                     Robert R. Kracht (0025574)
                                                     MCCARTHY, LEBIT, CRYSTAL
                                                       & LIFFMAN CO., LPA
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                                CERTIFICATE OF SERVICE
         I hereby certify that on June 20, 2019, a copy of the foregoing Motion for Leave to
Withdraw as Counsel was served (i) electronically on the date of filing through the Court’s ECF
System on all ECF participants registered in this case with the court and (ii) by personal email to
the following Pro Se Petitioning Creditors and (iii) to a representative of Tagnetics by personal
email and overnight express mail:

Kenneth W Kayser
PO Box 115
Catawba, VA 24070

Ronald E. Early
6429 Winding Tree Dr
New Carlise, OH 45344



Jonathan Hager
2170 River Oaks Drive
Salem, VA 24153

Robert Strain
427 Artell St
Marcengo, IL 60152


Jeremy Shane Flannery
Office of the US Trustee
170 North High Street
Suite 200
Columbus, OH 43215-2417

                                                     /s/ Robert R. Kracht
                                                     Robert R. Kracht (#0025574)




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